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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     CLARKSBURG

     UNITED STATES OF AMERICA,

                            Plaintiff,

     v.                                                        Criminal Action No.: 1:18-CR-50
                                                               (JUDGE KLEEH)

     SEDDRICK BANKS,
     TERRICK ROBINSON,

                            Defendants.


                                           SCHEDULING ORDER

          On November 20, 2019, came the United States of America by Brandon Flower, Assistant

 United States Attorney, and also came Defendant, Seddrick Banks, in person and by his counsel,

 Belinda Haynie and Frank Walker, for arraignment in the above-styled criminal action.

 Whereupon the Magistrate Judge, in open court, determined that Defendant had received a copy

 of the Superseding Indictment stating the substance of the charge. Defendant waived reading of

 the Superseding Indictment and entered a not guilty plea to the charges against him. Accordingly,

 the Court sets the following disclosure, pre-trial and trial dates:

          IT IS ORDERED THAT:

          (1)     The United States Attorney shall provide Defendant's counsel with copies of pre-

 trial discovery and inspection on or before November 27, 2019. 1




 1
  The undersigned brings the change in dates to Counsel Haynie, Walker, and Flower’s attention. These dates have
 changed from the arraignment sheet provided at Seddrick Banks’ arraignment due to a change in the trial and pretrial
 date post-hearing.
                                                          1
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          The Government moved for reciprocal discovery, which was granted and is to be provided

 on or before December 4, 2019.

          Any declination of disclosure, additional discovery or inspection and additional evidence

 shall be in accordance with LCrR16.02, 16.03, and 16.04.

          (2)     Exculpatory evidence shall be disclosed on or before November 27, 2019. LCrR

 16.05.

          (3)     All motions, including any motion for a bill of particulars pursuant to Rule 7(f) of

 the Federal Rules of Criminal Procedure and LCrR 47.01, shall be filed on or before December 6,

 2019. All such motions shall contain or be accompanied by a memorandum or brief presented at

 the time of filing setting forth the reasons and legal support for granting such motion. If this

 memorandum or brief is not presented at the time of filing, the motion will be dismissed.

          (4)     Responses to all such motions with legal support or memorandum shall be filed

 on or before December 9, 2019.

          (5)     A hearing on all motions, if referred to the Magistrate Judge by the Court, shall be

 held by the Magistrate Judge on December 12, 2019, at 10:00 a.m., in Clarksburg, West

 Virginia. The defendant shall be present at the hearing on all pre-trial motions. The United States

 Marshals Service requires that subpoenas for witnesses be issued ten days prior to the date of the

 hearing in order for them to be able to serve them.

          (6)     Rule 404(b), Giglio, and Roviaro evidence shall be disclosed on or before

 December 16, 2019. LRCrP16.06. 2



 2
  Defendant Robinson was arraigned on March 27, 2019 on the Superseding Indictment filed in this matter.
 Accordingly, his scheduling order was entered following the hearing. Paragraphs 6 through 16 apply to Defendant
 Robinson only and incorporates herein any outstanding deadlines set forth in his most recent scheduling order.
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         (7)     It is requested that the government disclose materials described in 18 U.S.C. § 3500

 (Jencks Act material) on or before December 16, 2019.

         (8)     All proposed voir dire questions, motions in limine (which must be limited to

 matters actually in dispute) and proposed jury instructions shall be submitted by counsel to the

 Court and opposing counsel on or before December 16, 2019. LRCrP24.01.

         The proposed jury instructions will (1) contain the style of the case, (2) the name of the

 party submitting the jury instructions, (3) be separately and consecutively numbered, (4) state by

 title the subject matter of the instruction, and (5) include a recorded citation of authority in support

 of the proposed jury instruction.

         Objections to opposing counsel’s instructions of law are due in writing no later than the

 last working day before trial.

         Counsel are required to provide to the court by email the voir dire and instructions in

 WordPerfect or Microsoft Word format. Please contact the District Judge’s Chambers for an email

 address prior to filing.

         (9)     By December 16, 2019, counsel for each party shall file with the United States

 Clerk's Office, Clarksburg Division and serve upon opposing counsel a list of probable witnesses

 and possible witnesses (identified as such), but not whether or not the Defendant shall be a witness.

 The list shall state the full name and address of each witness and shall also contain a brief statement

 of the subject matters to be covered by each witness. Expert witnesses and record custodians shall

 be identified as such on the list. LRCrP16.07.

         (10)    By December 16, 2019, counsel for each party shall file with the United States

 Clerk's Office, Clarksburg Division and serve upon opposing counsel a list of exhibits to be offered


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 at trial. In addition, counsel for each party shall number the listed exhibits with evidence tags

 which may be obtained from the Clerk and shall exchange a complete set of marked exhibits with

 opposing counsel (except for large or voluminous items or other exhibits that cannot be reproduced

 easily). LRCrP16.08.

          (11)   If this matter results in the formulation of a plea agreement, counsel shall submit to

 the Court the executed plea agreement or an unexecuted final proposed agreement by December

 17, 2019.

          (12)     A pre-trial conference in this case will be held on December 18, 2019, at 12:15

 PM in Clarksburg, West Virginia, before the Honorable Thomas S. Kleeh, to discuss all pending

 matters and to confirm the trial date.

          (13)   Jury selection in this matter will be conducted before the Court at the following

 time and place:


                            United States Post Office and Federal Building
                                         500 West Pike Street
                                  Clarksburg, West Virginia 26301

                         Second Floor before District Judge Thomas S. Kleeh

                                     January 7, 2020, at 9:30 AM

          (14)   Trial will commence upon completion of jury selection in all cases scheduled for

 trial.

          IF A PARTY DESIRES TO FILE A MOTION FOR A CONTINUANCE OF A

 TRIAL OR ANY OTHER SCHEDULED EVENT, COUNSEL FOR THAT PARTY

 SHALL, PRIOR TO THE FILING OF ANY MOTION, MEET AND CONFER WITH

 OPPOSING COUNSEL AND AGREE UPON THREE NEW DATES SHOULD THE

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 MOTION BE GRANTED AND THAT INFORMATION SHALL BE INCLUDED IN THE

 MOTION.          IF COUNSEL FOR THE OPPOSING PARTY OBJECTS TO A

 CONTINUANCE, THAT FACT SHALL ALSO BE NOTED IN THE MOTION.

         (15)    Defendant shall appear at every scheduled matter including, but not limited to,

 motion hearing, pretrial conference, trial and every other proceeding.

         (16)    Defense counsel shall notify the Clerk of Court in writing at least a week in advance

 if the services of an interpreter are required for a hearing or trial.

         IT IS FURTHER ORDERED that Defendant be REMANDED to the custody of the

 U.S. Marshal Service.

         The Clerk of the Court is directed to provide a copy of this Order to parties who appear pro

 se and all counsel of record, as applicable, as provided in the Administrative Procedures for

 Electronic Case Filing in the United States District Court for the Northern District of West

 Virginia.

         DATED: November 20, 2019.




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